534 F.2d 1405
    Evans &amp; Mitchell of Oklahoma, Inc., Matter of*#
    No. 76-1218
    United States Court of Appeals, Fifth Circuit
    6/22/76
    
      1
      N.D.Ga.
    
    AFFIRMED
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
        #  Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966.
      
    
    